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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                                  Civil Action No. _______________
   LUCAS VELEZ, individually and on
   behalf of a class of others similarly
   situated,

                                Plaintiffs,       CLASS ACTION COMPLAINT
                                                  FOR:
                       v.                           (1) VIOLATION OF THE
                                                        FLORIDA DECEPTIVE
                                                        AND UNFAIR TRADE
                                                        PRACTICES ACT
   TOYOTA MOTOR SALES, U.S.A.,                      (2) UNJUST ENRICHMENT
   INC., TOYOTA MOTOR NORTH                         (3) FRAUDULENT
   AMERICA, INC., and COUNTYLINE                        MISREPRESENTATION
   AUTO CENTER, INC. a/k/a LEXUS OF                 (4) NEGLIGENT
   NORTH MIAMI,                                         MISREPRESENTATION
                                                    (5) VIOLATION OF
                                Defendants.             MISLEADING
                                                        ADVERTISING STATUTE
                                                        (§ 817.41, FLA. STAT.)
                                                    (6) BREACH OF IMPLIED
                                                        WARRANTY OF FITNESS
                                                        FOR PARTICULAR
                                                        PURPOSE
                                                    (7) BREACH OF IMPLIED
                                                        WARRANTY OF
                                                        MERCHANTABILITY
                                                    (8) BREACH OF EXPRESS
                                                        WARRANTY
                                                    (9) VIOLATION OF THE
                                                        MAGNUSON-MOSS
                                                        WARRANTY ACT (15
                                                        U.S.C. §2301 ET SEQ.)


                                                  JURY TRIAL DEMANDED


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        Plaintiffs LUCAS VELEZ (“Plaintiff”) brings this action, on behalf of himself

  and all others similarly situated, against defendants TOYOTA MOTOR SALES,

  U.S.A., INC. (“Toyota Motor Sales”), TOYOTA MOTOR NORTH AMERICA,

  INC. (“TMNA,” and, collectively with Toyota Sales,                   “Toyota”), and

  COUNTYLINE AUTO CENTER, INC. a/k/a LEXUS OF NORTH MIAMI

  (“LONM,” and, collectively with Toyota, “Defendants”) and alleges, based upon

  Plaintiff’s personal knowledge, the investigation of counsel, and information and

  belief, as follows:

                           PRELIMINARY STATEMENT

        1.       Plaintiff brings this class action individually and on behalf of a Class

  of similarly situated individuals (members of the Class, as further defined below,

  referred to collectively as “Class Members”) who purchased and/or leased a Lexus

  GX 460 SUV.

        2.     Defendants are aware that an integral component that is necessary to

  utilize the towing capabilities of Lexus GX 460 SUVs (the tow hitch receiver) is no

  longer in production and not available to the consumers who purchase and/or lease

  Lexus GX 460 SUVs.




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        3.      Nonetheless, Defendants have knowingly continued to tout and

  advertise the rugged nature and towing capabilities of the 2022 Lexus GX 460 SUV

  without reference to the unavailability of the tow hitch receiver.

        4.      Defendants have sold and continue to sell Lexus GX 460 SUVs to

  consumers, including Plaintiff and the Class Members, who have relied on the

  advertisements, statements, and representations concerning the towing capabilities

  of the Lexus GX 460 SUV without informing such consumers prior to their purchase

  or lease that the Lexus GX 460 SUV is rendered incapable of towing anything due

  to the unavailability of the tow hitch receiver.

        5.      Accordingly, Plaintiff, on behalf of himself and the Class Members,

  bring these claims against Defendants for (i) Violation of the Florida Deceptive and

  Unfair     Trade   Practices   Act;   (ii)   Unjust   Enrichment;    (iii)   Fraudulent

  Misrepresentation; (iv) Negligent Misrepresentation; (v) Violation of the Misleading

  Advertising Statute (§ 817.41, Fla. Stat.); (vi) Breach of Implied Warranty of Fitness

  for Particular Purpose; (vii) Breach of Implied Warranty of Merchantability; (viii)

  Breach of Express Warranty; and (ix) Violation of the Magnuson-Moss

  Warranty Act (15 U.S.C. ch. 50 § 2301 et seq).

                                        PARTIES

        6.      Plaintiff is a natural person that resides in Miami Dade County, Florida.




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        7.     Defendant Toyota Motor Sales is a California corporation, with its

  principal place of business at 6565 Headquarters Drive, Plano, TX 75024. On

  information and belief, Toyota Motor Sales manufactures, distributes, markets, and

  sells vehicles in the United States, including, without limitation, Lexus branded

  vehicles. Toyota Motor Sales can be served through its registered agent, CT

  Corporation System, located at 1200 South Pine Island Road, Plantation, FL 33324.

        8.     Defendant TMNA is a California corporation, with its principal place

  of business at 6565 Headquarters Drive, Plano, TX 75024. On information and

  belief, TMNA is a holding company for Toyota Motor Corporation’s sales and

  manufacturing subsidiaries in the United States, including, without limitation,

  Toyota Motor Sales. TMNA can be served through its registered agent, CT

  Corporation System, located at 1200 South Pine Island Road, Plantation, FL 33324.

        9.     Defendant LONM is a Florida corporation, with its principal place of

  business at 16150 Pines Boulevard, Pembroke Pines, FL 33024. LONM markets,

  distributes, leases, and sells vehicles in the State of Florida on behalf of itself and/or

  Toyota, including, without limitation, Lexus branded vehicles. LONM can be served

  through its registered agent, Alan N. Jockers, located at 1841 N. State Rd 7,

  Hollywood, FL 33021. Defendant LONM is Toyota’s authorized and actual agent

  regarding sales, distribution, repairs and maintenance of Lexus vehicles, including

  those subject to the allegations herein.



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         10.    At all times material hereto, the employees, agents, and/or

  representatives of LONM were acting in the scope of their agency and/or

  employment under LONM and for the benefit of LONM.

         11.    At all times material hereto, the employees, agents, and/or

  representatives of Toyota were acting in the scope of their agency and/or

  employment under Toyota and for the benefit of Toyota.

                               JURISDICTION AND VENUE

         12.    This is a class action under Rule 23 of the Federal Rules of Civil

  Procedure.

         13.    This Court has jurisdiction over the subject matter of this action

  pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 2310.

         14.    The Court has personal jurisdiction over Defendants because they

  purposefully direct their activities at residents of Florida and the litigation results

  from injuries that arise out of or relate to those activities.

         15.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a

  substantial part of the events or omissions giving rise to the subject claims have

  occurred in this district.




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                                   STATEMENT OF FACTS

           16.    Plaintiff was in the market for a rugged vehicle that had towing

  capabilities which would afford Plaintiff the ability to tow various loads, including,

  without limitation, a jet ski, a motorcycle, and a U-Haul trailer.

           17.    In order for a vehicle to have sufficient towing capabilities, it must have

  a component attached to the chassis of the vehicle known as a tow hitch receiver.

           18.    Based on advertisements distributed by Defendants, Plaintiff learned

  that the Lexus GX 460 Sport Utility Vehicle (“SUV”) seemed like a rugged, robust

  vehicle with significant towing capabilities, and thus a viable option.

           19.    Toyota advertised (and continues to advertise) the Lexus GX 460 SUV

  as a “rugged SUV,” the “ONLY STANDARD 4WD [i.e., four-wheel drive] IN ITS

  CLASS,” with a system that “directs power to all four wheels—all of the time.”1

           20.    Toyota further advertised (and continues to advertise) the Lexus GX

  460 SUV as having “TORSEN® LIMITED-SLIP CENTER DIFFERENTIAL,”

  described by the following: “Full-time four-wheel drive helps give the GX better

  traction on-road and off. While the Torsen®* torque-sensing limited-slip center

  differential more efficiently distributes engine power between the front and rear

  axles to optimize traction even further.”2



  1
      https://www.lexus.com/models/GX (last visited January 6, 2023)
  2
      Id.


                                                  6
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            21.   Toyota further advertised (and continues to advertise) the Lexus GX

  460 SUV as having a “6,500-LB TOWING CAPACITY” with “329 lb-ft of torque

  at low rpm [that] enables the GX to tow up to 6,500 lb” with “Trailer Sway Control

  [that] adds peace of mind as part of the Vehicle Stability Control system,” that allows

  for “braking [to be] applied independently to each wheel” to help reduce sway.3

            22.   In addition, LONM posted a “window sticker” for the Lexus GX 460

  SUV on its website (which, upon information and belief, was created by Toyota)

  that stated the Lexus GX 460 SUV had standard powertrain features of features of

  “4.6-Liter V8 Engine w/301 HP,” “6-Speed Automatic Transmission,” “Full-Time

  Four Wheel Drive,” and “Trailer Sway Control.”

            23.   Accordingly, Plaintiff contacted defendant LONM to discuss the

  potential acquisition of a 2022 Lexus GX 460 SUV.

            24.   LONM’s representative(s) confirmed to Plaintiff that, indeed, the 2022

  Lexus GX 460 SUV had towing capabilities.

            25.   LONM’s representative(s) was/were aware that one of Plaintiff’s

  prerequisites for the purchase of a vehicle was that the vehicle to be purchased was

  capable of towing, and thus had an available tow hitch receiver.

            26.   LONM’s representative, Tyrie Yansen, gave Plaintiff a verbal quote for

  the cost of the tow hitch and installation and confirmed to Plaintiff that Plaintiff


  3
      Id.


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  could have a tow hitch receiver (identified more specifically as Tow Hitch Receiver,

  Class IV, part # PT228-60140) (the “Tow Hitch Receiver”) installed on a 2022

  Lexus GX 460 SUV.

        27.    In addition, LONM’s representative(s) emailed Plaintiff a specification

  sheet (also called a spec sheet) originally produced by Toyota that detailed the

  specifications of the 2022 Lexus GX 460 SUV, which listed “Full-time four-wheel

  drive with Torsen® limited-slip center differential with electronic differential lock”

  and “Trailer-Sway Control” as standard features of the 2022 Lexus GX 460, which

  further confirmed to Plaintiff that the 2022 Lexus GX 460 SUV had sufficient

  towing capabilities.

        28.    Neither communications/advertisements from Toyota nor LONM’s

  representative(s) indicated in any way that Plaintiff would be unable to purchase a

  Tow Hitch Receiver for his vehicle, should he decide to purchase one.

        29.    Accordingly, on or about March 9, 2022, Plaintiff purchased a 2022

  Lexus GX 460 SUV, identified with the vehicle identification number (“VIN”)

  JTJAM7BX1N5319569 (hereinafter referred to as the “Lexus SUV”).

        30.    Plaintiff purchased the Lexus SUV from LONM on the basis of (i) the

  representations made by Toyota concerning the Lexus SUV’s towing capabilities,

  and (ii) the representations made by LONM concerning the Lexus SUV’s towing

  capabilities and installation of the Tow Hitch Receiver on the Vehicle.



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        31.    On the day after Plaintiff purchased the Lexus SUV, Plaintiff brought

  the Lexus SUV back to the premises of LONM to have the Tow Hitch Receiver

  installed on the Lexus SUV, but LONM’s representative(s) informed Plaintiff that

  the Tow Hitch Receiver was not available.

        32.    Plaintiff followed up with LONM multiple times (including, without

  limitation, a physical visit on or about April 14, 2022) in an attempt to obtain the

  model of Tow Hitch Receiver needed for the Lexus SUV but was continuously

  advised by LONM’s representative(s) that the part was not available and/or

  discontinued.

        33.    Further, subsequent to Plaintiff’s purchase of the Lexus SUV, LONM’s

  representative(s) advised Plaintiff that there was a stop-sale order issued in

  connection to the model of Tow Hitch Receiver needed for the Lexus SUV.

        34.    A stop-sale order is a notification issued by a manufacturer to its dealers

  or resellers instructing that certain inventory should not be sold.

        35.    Upon information and belief, the stop-sale order concerning the Tow

  Hitch Receiver was issued directly by Toyota.

        36.    Upon information and belief, the stop-sale order concerning the Tow

  Hitch Receiver was issued in 2021, at least a number of months before Plaintiff

  purchased the Lexus SUV.




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         37.    This means that, not only did Toyota know of the unavailability of the

  Tow Hitch Receiver (which rendered the Lexus GX 460 line of SUVs incapable of

  towing anything), but Toyota issued an order instructing that the Tow Hitch Receiver

  should not be sold, thus actively curtailing the sale of any Tow Hitch Receivers that

  remained on the market.

         38.    Alternatively, the stop-sale order was issued by Toyota’s affiliate or

  subsidiary, and Toyota knew or should have known about the existence of the stop-

  sale order.

         39.    Plaintiff eventually called Toyota’s customer service department, who

  provided Plaintiff with a case number (#221021001754) and advised Plaintiff that

  the Tow Hitch Receiver would be available at the end of November 2022.

         40.    However, as of the date of this complaint, the Tow Hitch Receiver is

  still not available.

         41.    Toyota knows/knew that the Tow Hitch Receiver is necessary to utilize

  the towing capabilities of the Lexus GX 460 line of SUVs.

         42.    Toyota also knows the Towing Hitch Receiver is unavailable and knew

  the Towing Hitch Receiver was unavailable since the date it became unavailable.

         43.    Despite knowing the Lexus GX 460 line of SUVs was and still is

  incapable of towing anything due to the unavailability of the Tow Hitch Receiver

  (which it may have actively contributed to by way of a stop-sale order), Toyota



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  continued (and still continues) to advertise and represent on a national level that the

  Lexus GX 460 line of SUVs has significant towing capabilities.

         44.    For example, as of January 5, 2023, Toyota is still advertising that the

  Lexus GX 460 line of SUVs have a “6,500-LB TOWING CAPACITY” with “329

  lb-ft of torque at low rpm [that] enables the GX to tow up to 6,500 lb” with “Trailer

  Sway Control [that] adds peace of mind as part of the Vehicle Stability Control

  system,” that allows for “braking [to be] applied independently to each wheel” to

  help reduce sway.4

         45.    At the same time, Toyota’s website that lists the Tow Hitch Receiver

  for sale states “This Product Is No Longer Available.”5

         46.    Indeed, it appears that Toyota’s website page listing the Tow Hitch

  Receiver has stated “This Product Is No Longer Available” as far back as October

  18, 2021.6

         47.    Likewise, LONM knows/knew the Tow Hitch Receiver is necessary to

  utilize the towing capabilities of the Lexus GX 460 line of SUVs.




  4
     Id.
  5
    See https://parts.lexus.com/p/Lexus__/Tow-Hitch-Receiver/69522969/PT22860140.html (last
  visited January 6, 2023).
  6
    See, e.g., the cached version of the webpage, accessible by way of the Internet Archive WayBack
  Machine (which provides publicly accessible web archiving records) located at
  https://web.archive.org/web/20211018052924/https://parts.lexus.com/p/Lexus__/Tow-Hitch-
  Receiver/69522969/PT22860140.html (last visited January 6, 2023).


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         48.    LONM also knows the Towing Hitch Receiver is unavailable and knew

  the Towing Hitch Receiver was unavailable since the date it became unavailable.

         49.    Despite knowing the Lexus GX 460 line of vehicles was and is

  incapable of towing anything due to the unavailability of the Tow Hitch Receiver,

  LONM continued (and still continues) to advertise and represent that the Lexus GX

  460 line of vehicles has towing capabilities.

         50.    For instance, LOMN still posts “window stickers” for the Lexus GX

  460 SUV (which, upon information and belief, are created by Toyota) on its website

  that state the Lexus GX 460 SUV had standard powertrain features of features of

  “4.6-Liter V8 Engine w/301 HP,” “6-Speed Automatic Transmission,” “Full-Time

  Four Wheel Drive,” and “Trailer Sway Control.”7

         51.    Further, representative(s) of LONM made representations directly to

  Plaintiff before, during, and after Plaintiff purchased the Lexus SUV that confirmed

  the Lexus SUV would be tow-capable after installation of the Tow Hitch Receiver.

         52.    Such representations were made to Plaintiff after the date LONM was

  made aware that the Towing Hitch Receiver was unavailable, discontinued, and/or

  subject to a stop sale order.




  7
    See, e.g., https://www.lexusofnorthmiami.com/dealer-inspire-inventory/window-
  stickers/lexus?vin=JTJAM7BX0P5345972 (last visited January 6, 2023).


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        53.    Based on Defendants’ representations, Plaintiff was under the

  impression that the Lexus SUV would be tow-capable.

        54.    Plaintiff purchased the Lexus SUV on the basis of Defendants’

  representations that the Lexus SUV would be tow-capable.

        55.    Rather than actively advertise and represent that the Lexus GX 460 line

  of SUVs are capable of towing, Toyota should have disclosed to consumers, and

  directed its dealers to disclose to consumers, that the Lexus GX 460 line of SUVs

  are incapable of towing due to the unavailability of the Tow Hitch Receiver.

        56.    Likewise, rather than actively advertise and represent that the Lexus

  GX 460 line of SUVs are capable of towing, LONM should have disclosed to

  consumers that the Lexus GX 460 line of SUVs are incapable of towing due to the

  unavailability of the Tow Hitch Receiver.

        57.    The fact that the Lexus GX 460 line of SUVs are incapable of towing

  due to the unavailability of the Tow Hitch Receiver is a material fact, because a

  reasonable consumer would likely consider it important to know, when purchasing

  or leasing a vehicle that is advertised as a “rugged SUV” with significant towing

  capabilities, that the vehicle is incapable of towing.

        58.    Further, the fact that the Lexus GX 460 line of SUVs are incapable of

  towing due to the unavailability of the Tow Hitch Receiver is a material fact because

  a reasonable consumer would likely be induced to change his or her decision to



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  purchase or lease a vehicle that is advertised as a “rugged SUV” with significant

  towing capabilities based on knowing that the vehicle is incapable of towing.

        59.    Although Defendants have known that the Lexus GX 460 line of SUVs

  are defective (as they are incapable of towing due to the unavailability of the Tow

  Hitch Receiver) since at least October 18, 2021, if not earlier, Defendants failed to

  inform Plaintiff and the Class Members of this defect prior to their respective

  purchases or leases of Lexus GX 460 SUVs and has failed to repair Plaintiff’s and

  Class Members’ SUVs to alleviate the defect.

        60.    In particular, Defendants should have disclosed to Plaintiff and the

  Class Members that the Lexus GX 460 line of SUVs are incapable of towing due to

  the unavailability of the Tow Hitch Receiver.

        61.    By failing to make adequate disclosures on its webpages or other

  materials provided to consumers (and additionally, in the case of Toyota, by failing

  to direct its dealers to make these disclosures), Defendants prevented consumers

  from learning about the unavailability of the Tow Hitch Receiver prior to their

  purchases or leases.

        62.    Rather than make adequate disclosures on its webpages or other

  materials provided to consumers (and additionally, in the case of Toyota, rather than

  direct its dealers to make these disclosures), Defendants continue to advertise and

  represent that the Lexus GX 460 line of SUVs are rugged SUVs fully capable of a



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  significant towing capacity, thus misleading consumers until after they have

  purchased a Lexus GX 460 SUV and learn that it is not capable of towing anything

  due to the unavailability of the Tow Hitch Receiver.

        63.    Plaintiff and Class Members have thus been damaged by Defendants’

  conduct and omissions because they purchased or leased an SUV of a quality

  different than promised.

        64.    Because of the undisclosed defect, the Lexus GX 460 SUVs purchased

  by each of the Class Members (including, without limitation, Plaintiff’s Lexus SUV)

  are worth less than what each of the Class Members (including, without limitation,

  Plaintiff) actually paid for it, as the market value of an SUV with functional (and

  significant) towing capabilities is higher than the market value of an otherwise

  identical SUV that does not have functional towing capabilities.

        65.    The respective purchases and/or leases of the Lexus GX 460 SUVs

  purchased and/or leased by Plaintiff and the Class Members were accompanied by

  warranties, both express and implied.

        66.    While non-genuine alternatives to the Tow Hitch Receiver may be

  available somewhere in the automotive market, the warranties that are applicable to

  Lexus GX 460 SUVs do not cover any damage or failures resulting directly or

  indirectly from the installation of non-genuine Lexus accessories or parts, while they




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  do cover damage or failures resulting directly or indirectly from the installation of

  genuine Lexus accessories or parts.

        67.    In addition, under the terms of the applicable warranties, installation of

  non-genuine Lexus accessories or parts is considered alteration of the vehicle and/or

  tampering with the vehicle.

        68.    Further, installation of non-genuine Lexus accessories or parts would

  void the otherwise applicable warranties.

        69.    Even further, non-genuine Lexus accessories or parts that would serve

  as a replacement for the Tow Hitch Receiver would not allow Lexus GX 460 SUVs

  to tow to their full capacity, and would only allow for a limited towing capacity.

        70.    Thus, purchasers of Lexus GX 460 SUVs, such as Plaintiff and the

  Class Members, are faced with a lose-lose decision: either forgo the advertised

  towing capabilities of their newly-owned SUV and accept an SUV with less value

  than had it been tow-capable, or else seek out a replacement, non-genuine Lexus

  accessory or part and risk losing out on and/or voiding otherwise applicable warranty

  coverage.

        71.    Plaintiff gave notice of the issues with the Lexus SUV, as well as a final

  opportunity to repair the Lexus SUV, to Defendants before the expiration of the

  applicable warranties and within the warranty period after the date of delivery of the

  Lexus SUV to Plaintiff prior to filing this lawsuit.



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      Defendant’s Practices Violated Established and Accepted Ethical Standards

          72.   Toyota Motor Corporation (the international umbrella corporation to

  which Toyota is a subsidiary) maintains a “Code of Conduct,” which “describes the

  values and methods” meant to be followed by Toyota Motor Corporation and its

  various affiliates and subsidiaries, including Toyota and LMNO.

          73.   Toyota’s Code of Conduct calls for its affiliates and subsidiaries,

  including Toyota and LMNO, to “act, at all times, including when carrying out our

  works, in a manner that does not provoke unnecessary misunderstanding or

  misapprehensions, and to act with humility, honesty, and integrity.”8

          74.   However, Defendants’ practice of selling or leasing SUVs incapable of

  towing without disclosing such defect to consumers prior to the time of sale or lease,

  as alleged herein, is in blatant contradiction the requirements outlined in Toyota’s

  Code of Conduct.

          75.   Further, Defendants’ practice of selling or leasing SUVs incapable of

  towing without disclosing to consumers such defect prior to the time of sale or lease,

  as alleged herein, violates generally accepted ethical principles of business conduct.

          76.   The Data & Marketing Association (formerly the Direct Marketing

  Association) (the “DMA”), the leading industry association for companies that, like


  8
   See https://global.toyota/pages/global_toyota/company/vision-and-
  philosophy/code_of_conduct_001_en.pdf (last visited January 5, 2023), at p. 15 (the terms of
  which are hereby incorporated herein).


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  Toyota and LMNO, market directly to consumers, has published principles of ethical

  business practices (the “Ethical Guidelines”).

            77.     In May of 2018, the DMA was acquired by the Association of National

  Advertisers (the “ANA”), “one of the oldest and most venerated trade association in

  the marketing industry.”9

            78.     ANA adopted the DMA’s Ethical Guidelines, which it publishes on its

  web site as “ANA Accountability - Guidelines for Ethical Business Practice (as

  developed by DMA).”

            79.     A true and correct copy of Ethical Guidelines that the ANA adopted

  from the DMA can be found at https://www.ana.net/getfile/30491 (last visited

  January 6, 2023), and is hereby incorporated herein by reference.

            80.     Because Toyota is a member of the ANA,10 Toyota ascribes to the

  ANA’s member principles (including the Ethical Guidelines that ANA adopted from

  DMA) for both itself, its affiliates, and its subsidiaries.

            81.     The Ethical Guidelines “are intended to provide individuals and

  organizations involved in data-driven marketing in all media with generally accepted

  principles of conduct.” Ethical Guidelines at p. 3.




  9
       https://www.ana.net/content/show/id/49074 (last visited January 6, 2023).
  10
       https://www.ana.net/members/list#t (last visited January 6, 2023).


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        82.    Part II of the Ethical Guidelines, titled “Marketing,” is set forth in a

  series of “Articles,” each of which states a separate ethical principle related to

  marketing (the “Ethical Guidelines for Marketing”).

        83.    Article #1 of the Ethical Guidelines for Marketing is “HONESTY AND

  CLARITY OF OFFER,” which states the following: “All offers should be clear,

  honest and complete so that the consumer may know the exact nature of what is

  being offered . . . [a]dvertisements or specific claims that are untrue, misleading,

  deceptive, or fraudulent should not be used.” Ethical Guidelines at p. 16.

        84.    By marketing the Lexus GX 460 line of SUVs as having significant tow

  capabilities without notifying potential purchasers or lessees that the Lexus GX 460

  line of SUVs are incapable of towing due to the unavailability of the Tow Hitch

  Receiver prior to their purchase or lease, Defendants violated this principle because

  their offer was not clear, honest and complete, but rather untrue, misleading,

  deceptive, or fraudulent.

        85.    Article #2 of Ethical Guidelines for Marketing is “ACCURACY AND

  CONSISTENCY,”         which    states:   “Simple   and   consistent   statements   or

  representations of all the essential points of the offer should appear in the

  promotional material. The overall impression of an offer should not be contradicted

  by individual statements, representations, or disclaimers.” Id.




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            86.     By not including any information indicating the Lexus GX 460 line of

  SUVs are incapable of towing due to the unavailability of the Tow Hitch Receiver

  in material that it made available to consumers prior to their purchases or leases of

  Lexus GX 460 SUVs, Defendants violated the ethical principle in Article #2 of the

  Ethical Guidelines for Marketing because the information Defendants provided to

  such consumers did not contain all the essential points of the offer.

            87.     Defendants omitted that the Lexus GX 460 line of SUVs are incapable

  of towing due to the unavailability of the Tow Hitch Receiver, and only chose to

  inform to inform purchasers or lessees of this fact until after they had purchased or

  leased their Lexus GX 460 SUVs.

            88.     Further, Defendants have violated the ethical guidelines set forth by the

  American Marketing Association (the “AMA”) in its “Statement of Ethics.”

            89.     A true and correct copy of the AMA Statement of Ethics can be found

  at     https://myama.my.site.com/s/article/AMA-Statement-of-Ethics                    (last   visited

  January 6, 2023) and is hereby incorporated herein by reference.

            90.     Upon information and belief, Toyota is a member of the AMA, as, at

  the very least, Toyota Motor Sales maintains an active presence on the AMA’s job

  boards.11




  11
       See, e.g., https://jobs.ama.org/profile/toyota-motor-sales/122370/ (last visited January 6, 2023).


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         91.    Accordingly, Toyota ascribes to the Statement of Ethics for both itself,

  its affiliates, and its subsidiaries.

         92.    The AMA “commits itself to promoting the highest standard of

  professional ethical norms and values for its members.” See Statement of Ethics.

         93.    The AMA Statement of Ethics states that “marketers are expected to

  embrace the highest professional ethical norms and the ethical values implied by our

  responsibility toward multiple stakeholders (e.g., customers . . . .).” Id.

         94.    Thus, the Statement of Ethics contains “Ethical Norms,” which “are

  established standards of conduct that are expected and maintained by society and/or

  professional organizations.” Id.

         95.    The AMA’s Ethical Norms state that marketers must “consciously

  avoid [] harmful actions and omissions,” “striv[e] for good faith and fair dealing,”

  “avoid [] deception in . . . pricing, communication, and delivery of distribution,” and

  affirm “core values” of honesty, . . . fairness [and] transparency.” Id.

         96.    By failing to include any information about the fact that Lexus GX 460

  SUVs are incapable of towing due to the unavailability of the Tow Hitch Receiver

  in, Defendants violated these Ethical Norms because, among other reasons, they did

  not strive (or achieve) good faith and fair dealing, did not avoid deception in

  communication, and did not affirm the core values of honesty, fairness and

  transparency.



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        97.      The AMA has also published “Ethical Values,” which “represent the

  collective conception of what communities find desirable, important and morally

  proper.” Id.

        98.      The AMA states that marketers’ Ethical Values include honesty,

  meaning “[s]triv[ing] to be truthful in all situations and at all times” and “[h]onoring

  our explicit and implicit commitments and promises.” Id.

        99.      Another Ethical Value, according to the AMA, is fairness, which

  includes “[r]epresent[ing] products in a clear way in selling, advertising and other

  forms of communication,” “avoid[ing] false, misleading and deceptive promotion,”

  and “[r]efusing to engage in ‘bait-and-switch’ tactics.” Id.

        100. Yet another Ethical Value, according to the AMA, is “Transparency,”

  which includes “[s]triv[ing] to communicate clearly with all constituencies.” Id.

        101. By failing to include any information about the fact that Lexus GX 460

  SUVSs are incapable of towing due to the unavailability of the Tow Hitch Receiver

  in material and/or representations that they conveyed to consumers prior to their

  purchases or leases of Lexus GX 460 SUVs, Defendants violated these Ethical

  Values, because, among other reasons, they were not truthful in all situations, did

  not honor their explicit and implicit commitments and promises, did not represent

  their products in a clear way, did not avoid false, misleading and deceptive

  promotion, and did not communicate clearly.



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        102. In fact, by failing to include any information about the fact that Lexus

  GX 460 SUVS are incapable of towing due to the unavailability of the Tow Hitch

  Receiver in material and/or representations that they conveyed to consumers prior

  to their purchases or leases of Lexus GX 460 SUVs, Defendants actively engaged in

  bait-and-switch tactics against such consumers.

                   CLASS REPRESENTATION ALLEGATIONS

        103. Plaintiff brings this action on his own behalf and as a class action on

  behalf of all similarly situated purchasers and lessees of Lexus GX 460 SUVs,

  pursuant to Fed. R. Civ. P. 23(a) and (b)(2) and/or (b)(3). Issues in this litigation are

  also properly maintainable pursuant to Fed. R. Civ. P. 23(c)(4).

        104. Specifically, Plaintiff seeks to represent the following Class (the

  “Class”):

        All persons located within the State of Florida who, within the applicable
        period of limitations preceding the filing of this lawsuit to the date of class
        certification, purchased or leased a Lexus GX 460 SUV from an authorized
        Toyota dealership that was delivered to such persons without a Tow Hitch
        Receiver, Class IV, part # PT228-60140.
        105. Excluded from the Class definition are: (1) federal, state, and/or local

  governments, including, but not limited to, their departments, agencies, divisions,

  bureaus, boards, sections, groups, counsels, and/or subdivisions; (2) officers,

  directors and employees of Defendants; (3) any entity in which Defendants have a

  controlling interest, to include, but not limited to, their legal representative, heirs,



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  and successors; (4) counsel and members of the immediate families of counsel for

  Plaintiff herein; and (5) the judge presiding over this action and any member of the

  judge’s immediate family.

         106. Plaintiff also seeks to represent a subclass of all Class Members who

  purchased or leased Lexus GX 460 SUV (the “Subclass”).

         107. Specifically, Plaintiff seeks to represent the following Subclass:

         All persons located within the State of Florida who, within the applicable
         period of limitations preceding the filing of this lawsuit to the date of class
         certification, purchased or leased a Lexus GX 460 SUV from COUNTYLINE
         AUTO CENTER, INC. a/k/a LEXUS OF NORTH MIAMI that was delivered
         to such persons without a Tow Hitch Receiver, Class IV, part # PT228-60140.
         108. Plaintiff reserves the right to re-define the Class and/or Subclass prior

  to class certification.

         109. Numerosity. The members of the proposed Class are so numerous that

  joinder of all members is impracticable. The precise number of Class Members is

  unknown at this time, as such information is in the exclusive control of Defendants.

  Upon information and belief, however, and based on Defendant’s market share and

  the number of vehicles sold or leased in the State of Florida each year, Plaintiff

  estimates that the Class is comprised of (at minimum) thousands of members. As

  such, numerosity within the meaning of Rule 23(a)(1) is established.

         110. Typicality. The claims of Plaintiff are typical of the claims of the Class

  in that:



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           a. Plaintiff and the Class Members all purchased or leased Lexus GX 460

              SUVs from Toyota and/or a Toyota authorized dealership (including,

              in the case of the Subclass, from LMNO);

           b. The Lexus GX 460 SUVs purchased by Plaintiff and the Class

              Members were all advertised by Toyota (and, in the case of the

              Subclass, advertised by all Defendants) as having significant towing

              capabilities;

           c. Plaintiff and the Class Members were subject to the same or

              substantially similar circumstances in which Toyota (and, in the case of

              the Subclass, all Defendants) failed to advise that the Lexus GX 460

              SUV is less valuable and/or less functional than advertised, as it is

              incapable of towing due to the unavailability of the Tow Hitch

              Receiver;

           d. Plaintiff, like all Class Members, have been damaged by the unlawful

              misconduct conducted by Toyota (and, in the case of the Subclass, by

              all Defendants), including, without limitation, by receiving a vehicle

              with a lesser market value than that of a vehicle with functional towing

              capabilities;

           e. The factual basis and causes of action for the claims Plaintiff asserts on

              behalf of Plaintiff and the Class are common to all Class Members and



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               represent a common thread of misconduct resulting in injury to all Class

               Members; and

            f. The factual basis and causes of action for the claims Plaintiff asserts on

               behalf of Plaintiff and the Subclass are common to all Subclass

               members and represent a common thread of misconduct resulting in

               injury to all Subclass members.

        111. Common Questions of Law and Fact and Predominance (as to the

  Class). Numerous questions of law and fact are common to Plaintiff and the Class

  Members within the meaning of Rule 23(a)(2), the answers to which are applicable

  class-wide, and these common questions predominate over any individual questions

  within the meaning of Rule 23(b)(3). Such common legal and factual questions

  include, but are not limited to, the following:

            a. Whether the Lexus GX 460 SUVs purchased by Plaintiff and the Class

               Members were all advertised by Toyota as having significant towing

               capabilities;

            b. Whether the Lexus GX 460 SUVs sold or leased by or on behalf of

               Toyota to the Class Members are incapable of towing due to the

               unavailability of the Tow Hitch Receiver, as further described herein;




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           c. Whether the Lexus GX 460 SUVs sold or leased by or on behalf of

              Toyota to the Class Members are worth a lesser market value than that

              of vehicles with functional towing capabilities;

           d. When Toyota learned that the Lexus GX 460 line of SUVs are

              incapable of towing due to the unavailability of the Tow Hitch

              Receiver;

           e. Whether Toyota omitted relevant information regarding the Lexus GX

              460 line of SUVs’ incapability of towing due to the unavailability of

              the Tow Hitch Receiver from its communications with consumers prior

              to their purchases or leases;

           f. Whether and to what capacity Toyota is able to remedy the Lexus GX

              460 line of SUVs’ incapability of towing due to the unavailability of

              the Tow Hitch Receiver and whether such incapability results from a

              design or manufacturing defect;

           g. Whether Toyota has unjustly profited from the sale and/or lease of

              Lexus GX 460 line of SUVs due to the allegations alleged herein;

           h. Whether Toyota’s actions described herein constitute an unfair and/or

              deceptive trade practice within the meaning of FDUTPA;

           i. Whether Toyota’s actions described herein constitute a violation of the

              Magnuson-Moss Warranty Act;



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           j. Whether Plaintiff and the Class are entitled to compensatory damages

               and/or restitution and/or disgorgement, and the amount of such

               damages based on Toyota’s sale and/or lease of Lexus GX 460 SUVs

               that are incapable of towing due to the unavailability of the Tow Hitch

               Receiver;

           k. Whether injunctive and/or declaratory or other equitable relief is

               warranted under FDUTPA.

        112. Common Questions of Law and Fact and Predominance (as to the

  Subclass). Numerous questions of law and fact are common to Plaintiff and the

  members of the Subclass within the meaning of Rule 23(a)(2), the answers to which

  are applicable to all members of the Subclass, and these common questions

  predominate over any individual questions within the meaning of Rule 23(b)(3).

  Such common legal and factual questions include, but are not limited to, the

  following:

           a. Whether the Lexus GX 460 SUVs purchased by Plaintiff and the

               members of the Subclass were all advertised by LMNO as having

               significant towing capabilities;

           b. Whether the Lexus GX 460 SUVs sold or leased by LMNO to the

               members of the Subclass are incapable of towing due to the

               unavailability of the Tow Hitch Receiver, as further described herein;



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           c. Whether the Lexus GX 460 SUVs sold or leased by or on behalf of

              LMNO to the members of the Subclass are worth a lesser market value

              than that of SUVs with functional towing capabilities;

           d. When LMNO learned that the Lexus GX 460 line of SUVs are

              incapable of towing due to the unavailability of the Tow Hitch

              Receiver;

           e. Whether LMNO omitted relevant information regarding the Lexus GX

              460 line of SUVs incapability of towing due to the unavailability of the

              Tow Hitch Receiver from its communications with members of the

              Subclass prior to their purchases or leases;

           f. Whether and to what capacity LMNO is able to remedy the Lexus GX

              460 line of SUVs’ incapability of towing due to the unavailability of

              the Tow Hitch Receiver and whether such incapability results from a

              design or manufacturing defect;

           g. Whether LMNO have unjustly profited from the sale and/or lease of

              Lexus GX 460 line of SUVs due to the allegations alleged herein;

           h. Whether LMNO’s actions described herein constitute an unfair and/or

              deceptive trade practice within the meaning of FDUTPA;

           i. Whether LMNO’s actions described herein constitute a violation of the

              Magnuson-Moss Warranty Act;



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            j. Whether Plaintiff and the members of the Subclass are entitled to

                  compensatory damages and/or restitution and/or disgorgement, and the

                  amount of such damages based on LMNO’s sale and/or lease of Lexus

                  GX 460 SUVs that are incapable of towing due to the unavailability of

                  the Tow Hitch Receiver;

            k. Whether injunctive and/or declaratory or other equitable relief is

                  warranted under FDUTPA.

                                  CAUSES OF ACTION
                                     COUNT I
        Violation of the Florida Deceptive and Unfair Trade Practices Act
                                  (against Toyota)
                   (on behalf of Plaintiff and all Class Members)

        113. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        114. Each Lexus GX 460 SUV purchased or leased by Plaintiff and the Class

  Members were/are considered “property” or “goods” pursuant to Fla. Stat.

  §501.203(8).

        115. By advertising, offering for sale, selling, leasing, solicitating, providing

  and/or distributing Lexus GX 460 SUVs purchased or leased by Plaintiff and the

  Class Members, Toyota has engaged and continues to engage in “trade” or

  “commerce” pursuant to Fla. Stat. § 501.203(8).




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        116. Toyota knew or should have known that the Lexus GX 460 line of

  SUVs are incapable of towing due to the unavailability of the Tow Hitch Receiver

  and have likely known of this fact since at least October 18, 2021, if not earlier.

        117. Nevertheless, Toyota failed to inform Plaintiff and the Class about this

  fact prior to their respective purchases or leases of Lexus GX 460 SUVs.

        118. At a minimum, Toyota omitted material facts by not disclosing to

  Plaintiff and the Class prior to their purchases or leases that the Lexus GX 460 line

  of SUVs are incapable of towing due to the unavailability of the Tow Hitch Receiver.

        119. Such omission constituted Toyota’s failure to disclose material facts

  that were known to Toyota, or that, upon reasonable inquiry, would be known to

  Toyota.

        120. In light of Toyota’s knowledge that the Lexus GX 460 line of SUVs are

  incapable of towing due to the unavailability of the Tow Hitch Receiver, Toyota’s

  marketing of Lexus GX 460 SUVs to Plaintiff and Class Members as tow-capable

  and selling and leasing the vehicles to Plaintiff and Class Members without

  disclosing they were not tow-capable constitutes unfair acts and/or an unfair practice

  in the conduct of trade or commerce.

        121. In light of Toyota’s knowledge that Lexus GX 460 line of SUVs are

  incapable of towing due to the unavailability of the Tow Hitch Receiver, Toyota’s

  marketing of Lexus GX 460 SUVs to Plaintiff and Class Members as tow-capable



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  and selling and leasing the vehicles to Plaintiff and Class Members without

  disclosing they were not tow-capable constitutes deceptive acts and/or a deceptive

  practice in the conduct of trade or commerce.

        122. As set forth above, Toyota engaged in, inter alia, the following unfair

  and/or deceptive trade practices in transactions with Plaintiff and Class Members in

  Florida which were intended to result in, and did result in, the sale and/or lease of

  Lexus GX 460 SUVs:

           a. Representing that such vehicles have characteristics, uses, and/or

               benefits that they do not have;

           b. Representing that such vehicles are of a particular standard, quality, or

               grade when they are of another; and

           c. Concealing, omitting, and/or suppressing material facts regarding such

               vehicles.

        123. The unfair and/or deceptive trade practices described herein was likely

  to deceive a reasonable consumer, as a reasonable consumer would believe the

  Lexus GX 460 SUV was tow-capable, especially in light of Toyota’s advertisements.

        124. Moreover, the practices and acts described herein were substantially

  injurious, unethical, and unscrupulous, and/or they provided no countervailing

  benefit to other consumers, and Plaintiff and Class Members could not reasonably

  have avoided their injuries.



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        125. As a direct and proximate result of the unfair and/or deceptive trade

  practices described herein, Plaintiff and the Class were damaged by paying for the

  purchase and/or lease of SUVs with significant towing capabilities without being

  told by Toyota prior to their respective purchase or lease that such SUVs were not

  incapable of towing, and instead receiving SUVs that incapable of towing and are

  therefore worth a lesser value.

        126. The market value of a vehicle as represented (i.e., an SUV with

  significant tow capabilities) exceeds the market value of the vehicles that Plaintiff

  and Class Members actually received (i.e., an SUV that is incapable of towing).

        127. Moreover, Plaintiff and Class Members have been aggrieved by the

  violations described herein and are therefore entitled to declaratory relief pursuant

  to § 501.211(1).

        128. Toyota continues to market, advertise, sell and/or lease Lexus GX 460

  SUVs in the unfair manner described herein.

        129. As such, Plaintiff and Class Members are entitled to injunctive relief

  enjoining Toyota from continuing to misrepresent the capabilities of Lexus GX 460

  SUVs and otherwise engage in the unfair and/or deceptive conduct described herein.

        130. In addition, Plaintiff and Class Members are entitled to the recovery of

  actual and other damages.




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        131. Plaintiff and Class Members also seek injunctive relief in the form of a

  corrective advertising campaign and/or other corrective action.

                                      COUNT II
        Violation of the Florida Deceptive and Unfair Trade Practices Act
                                   (against LMNO)
               (on behalf of Plaintiff and all members of the Subclass)

        132. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        133. Each Lexus GX 460 SUV purchased or leased by Plaintiff and the

  members of the Subclass were/are considered “property” or “goods” pursuant to Fla.

  Stat. §501.203(8).

        134. By advertising, offering for sale, selling, leasing, solicitating, providing

  and/or distributing Lexus GX 460 SUVs purchased or leased by Plaintiff and the

  members of the Subclass, LMNO has engaged and continues to engage in “trade” or

  “commerce” pursuant to Fla. Stat. § 501.203(8).

        135. LMNO knew or should have known that the Lexus GX 460 line of

  SUVs are incapable of towing due to the unavailability of the Tow Hitch Receiver

  and have likely known of this fact since at least October 18, 2021, if not earlier.

        136. Nevertheless, LMNO failed to inform Plaintiff and the members of the

  Subclass about this fact prior to their respective purchases or leases of Lexus GX

  460 SUVs.




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        137. At a minimum, LMNO omitted material facts by not disclosing to

  Plaintiff and the members of the Subclass prior to their purchases or leases that the

  Lexus GX 460 line of SUVs are incapable of towing due to the unavailability of the

  Tow Hitch Receiver.

        138. Such omission constituted LMNO’s failure to disclose material facts

  that were known to LMNO, or that, upon reasonable inquiry, would be known to

  LMNO.

        139. In light of LMNO’s knowledge that Lexus GX 460 SUVs are incapable

  of towing due to the unavailability of the Tow Hitch Receiver, LMNO’s marketing

  of Lexus GX 460 SUVs to Plaintiff and members of the Subclass as tow-capable and

  selling and leasing the SUVs to Plaintiff and members of the Subclass without

  disclosing they were not tow-capable constitutes unfair acts and/or an unfair practice

  in the conduct of trade or commerce.

        140. In light of LMNO’s knowledge that Lexus GX 460 SUVs are incapable

  of towing due to the unavailability of the Tow Hitch Receiver, LMNO’s marketing

  of Lexus GX 460 SUVs to Plaintiff and the members of the Subclass as tow-capable

  and selling and leasing the SUVs to Plaintiff and the members of the Subclass

  without disclosing they were not tow-capable constitutes deceptive acts and/or a

  deceptive practice in the conduct of trade or commerce.




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        141. As set forth above, LMNO engaged in, inter alia, the following unfair

  and/or deceptive trade practices in transactions with Plaintiff and the members of the

  Subclass in Florida which were intended to result in, and did result in, the sale and/or

  lease of Lexus GX 460 SUVs:

            a. Representing that such vehicles have characteristics, uses, and/or

               benefits that they do not have;

            b. Representing that such vehicles are of a particular standard, quality, or

               grade when they are of another; and

            c. Concealing, omitting, and/or suppressing material facts regarding such

               vehicles.

        142. The unfair and/or deceptive trade practices described herein was likely

  to deceive a reasonable consumer, as a reasonable consumer would believe the

  Lexus GX 460 SUV had significant towing capabilities, especially in light of

  LMNO’s marketing.

        143. Moreover, the practices and acts described herein were substantially

  injurious, unethical, and unscrupulous, and/or they provided no countervailing

  benefit to other consumers, and Plaintiff and the members of the Subclass could not

  reasonably have avoided their injuries.

        144. As a direct and proximate result of the unfair and/or deceptive trade

  practices described herein, Plaintiff and the members of the Subclass were damaged



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  by paying for the purchase and/or lease of SUVs with significant towing capabilities

  without being told by LMNO prior to their respective purchase or lease that such

  vehicles were not tow-capable, and instead receiving SUVs that are incapable of

  towing and are therefore worth a lesser value.

        145. The market value of a vehicle as represented (i.e., an SUV with

  significant tow capabilities) exceeds the market value of the vehicles that Plaintiff

  and members of the Subclass actually received (i.e., an SUV that is incapable of

  towing).

        146. Moreover, Plaintiff and the members of the Subclass have been

  aggrieved by the violations described herein and are therefore entitled to declaratory

  relief pursuant to § 501.211(1).

        147. LMNO continues to market, advertise, sell and/or lease Lexus GX 460

  SUVs in the unfair manner described herein.

        148. As such, Plaintiff and the members of the Subclass are entitled to

  injunctive relief enjoining LMNO from continuing to misrepresent the capabilities

  of Lexus GX 460 SUVs and otherwise engage in the unfair and/or deceptive conduct

  described herein.

        149. In addition, Plaintiff and the members of the Subclass are entitled to the

  recovery of actual and other damages.




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        150. Plaintiff and the members of the Subclass also seek injunctive relief in

  the form of a corrective advertising campaign and/or other corrective action.

                                      COUNT III
                                  Unjust Enrichment
                                    (against Toyota)
                     (on behalf of Plaintiff and all Class Members)

        151. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        152. Plaintiff and the Class members conferred a monetary benefit on

  Defendants when they paid for their respective purchase and/or lease of their Lexus

  GX 460 SUVs.

        153. Toyota knew or should have known that Lexus GX 460 SUVs are

  incapable of towing due to the unavailability of the Tow Hitch Receiver and have

  likely known of this fact since at least October 18, 2021, if not earlier.

        154. Toyota was therefore accepting money through Plaintiff’s and Class

  Members’ purchases or leases of SUVs that were incapable of towing due to the

  unavailability of the Tow Hitch Receiver.

        155. Nevertheless, Toyota failed to inform Plaintiff and the Class about this

  fact prior to their purchases or leases of their Lexus GX 460 SUVs.

        156. Under these circumstances, it is inequitable for Toyota to retain the

  benefit of Plaintiff’s and Class Members’ payments attributable to the SUVs that

  were incapable of towing due to the unavailability of the Tow Hitch Receiver.

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        157. Toyota’s acceptance and retention of these benefits under the

  circumstances make it inequitable for Toyota to retain these benefits without

  payment of the value to Plaintiff and the Class.

        158. As a result, Toyota is unjustly enriched at the expense of Plaintiff and

  the Class.

        159. Under principles of equity and good conscience, Toyota should not be

  permitted to retain the money belonging to Plaintiff and the Class that Toyota

  wrongfully collected based on its practice of selling or leasing SUVs that were

  incapable of towing due to the unavailability of the Tow Hitch Receiver.

        160. As a direct and proximate result of Toyota’s wrongful conduct, Plaintiff

  and the Class have suffered an ascertainable loss of money by paying for SUVs with

  significant tow capabilities without being told by Toyota that such vehicles were

  actually incapable of towing, and instead received vehicles that are incapable of

  towing and are therefore worth a lesser value.

        161. As a direct and proximate result of Toyota’s wrongful conduct and

  unjust enrichment, Plaintiff and the Class are entitled to full disgorgement and/or

  restitution of the amounts Toyota has retained as a result of the unlawful and/or

  wrongful conduct alleged herein.




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                                         COUNT IV
                                    Unjust Enrichment
                                      (against LMNO)
                  (on behalf of Plaintiff and all members of the Subclass)

        162. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        163. Plaintiff and the members of the Subclass conferred a monetary benefit

  on LMNO when they paid for their respective purchases and/or leases of their Lexus

  GX 460 SUVs.

        164. LMNO knew or should have known that Lexus GX 460 SUVs are

  incapable of towing due to the unavailability of the Tow Hitch Receiver and have

  likely known of this fact since at least October 18, 2021, if not earlier.

        165. LMNO was therefore accepting money through Plaintiff’s and

  members of the Subclass’s purchases or leases of SUVs that were incapable of

  towing due to the unavailability of the Tow Hitch Receiver.

        166. Nevertheless, LMNO failed to inform Plaintiff and the members of the

  Subclass about this fact prior to their purchases or leases of their Lexus GX 460

  SUVs.

        167. Under these circumstances, it is inequitable for LMNO to retain the

  benefit of Plaintiff’s and the members of the Subclass’s payments attributable to the

  SUVs that were incapable of towing due to the unavailability of the Tow Hitch

  Receiver.

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        168. LMNO’s acceptance and retention of these benefits under the

  circumstances make it inequitable for LMNO to retain these benefits without

  payment of the value to Plaintiff and the members of the Subclass.

        169. As a result, LMNO is unjustly enriched at the expense of Plaintiff and

  the members of the Subclass.

        170. Under principles of equity and good conscience, LMNO should not be

  permitted to retain the money belonging to Plaintiff and the members of the Subclass

  that LMNO wrongfully collected based on its practice of selling or leasing SUVs

  that were incapable of towing due to the unavailability of the Tow Hitch Receiver.

        171. As a direct and proximate result of LMNO’s wrongful conduct, Plaintiff

  and the Subclass have suffered an ascertainable loss of money by paying for SUVs

  with significant tow capabilities without being told by LMNO that such vehicles

  were actually incapable of towing, and instead receiving SUVs that are incapable of

  towing and are therefore worth a lesser value.

        172. As a direct and proximate result of LMNO’s wrongful conduct and

  unjust enrichment, Plaintiff and the members of the Subclass are entitled to full

  disgorgement and/or restitution of the amounts LMNO has retained as a result of the

  unlawful and/or wrongful conduct alleged herein.




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                                      COUNT V
                          Fraudulent Misrepresentation
                                   (against Toyota)
                    (on behalf of Plaintiff and all Class Members)

        173. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        174. At all times material hereto, the employees, agents, and/or

  representatives of Toyota were acting in the scope of their agency and/or

  employment under Toyota and for the benefit of Toyota.

        175. As further alleged herein, Toyota knowingly engaged in a scheme to

  defraud potential purchasers and/or lessees of Lexus GX 460 SUVs by representing

  Lexus GX 460 SUVs as having significant tow capabilities, when it knew Lexus GX

  460 SUVs were incapable of towing due to the unavailability of the Tow Hitch

  Receiver.

        176. In furtherance of such scheme, Toyota, through its employees, agents,

  and/or representatives, made material and false statements and representations,

  including, without limitation, that Lexus GX 460 SUVs have significant tow

  capabilities.

        177. At the time such material statements and representations were made,

  Toyota, through its employees, agents, and/or representatives, knew that such

  material statements and representations were false.




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        178. Toyota, through its employees, agents, and/or representatives, intended

  on Plaintiff and the Class to rely and act on such material and false statements and

  representations.

        179. At the time of their applicable purchase and/or lease, Plaintiff and the

  Class did not know that such statements and representations were false.

        180. Plaintiff and the Class justifiably relied on such statements and

  representations, to their detriment.

        181. As a direct and proximate result of Toyota’s material and false

  statements and representations, Plaintiff and the Class have sustained injury and

  damage, as further alleged herein.

                                         COUNT VI
                              Fraudulent Misrepresentation
                                      (against LMNO)
                  (on behalf of Plaintiff and all members of the Subclass)

        182. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        183. At all times material hereto, the employees, agents, and/or

  representatives of LMNO were acting in the scope of their agency and/or

  employment under LMNO and for the benefit of LMNO.

        184. As further alleged herein, LMNO knowingly engaged in a scheme to

  defraud potential purchasers and/or lessees of Lexus GX 460 SUVs by representing

  Lexus GX 460 SUVs as having significant tow capabilities, when it knew Lexus GX

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  460 SUVs were incapable of towing due to the unavailability of the Tow Hitch

  Receiver.

           185. In furtherance of such scheme, LMNO, through its employees, agents,

  and/or representatives, made material and false statements and representations,

  including, without limitation, that Lexus GX 460 SUVs have significant tow

  capabilities.

           186. At the time such material statements and representations were made,

  LMNO, through its employees, agents, and/or representatives, knew that such

  material statements and representations were false.

           187. LMNO, through its employees, agents, and/or representatives, intended

  on Plaintiff and the members of the Subclass to rely and act on such material and

  false statements and representations.

           188. At the time of their applicable purchase and/or lease, Plaintiff and the

  members of the Subclass did not know that such statements and representations were

  false.

           189. Plaintiff and the members of the Subclass justifiably relied on such

  statements and representations, to their detriment.

           190. As a direct and proximate result of LMNO’s material and false

  statements and representations, Plaintiff and the members of the Subclass have

  sustained injury and damage, as further alleged herein.



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                                     COUNT VII
                           Negligent Misrepresentation
                                   (against Toyota)
                    (on behalf of Plaintiff and all Class Members)

        191. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        192. At all times material hereto, the employees, agents, and/or

  representatives of Toyota were acting in the scope of their agency and/or

  employment under Toyota and for the benefit of Toyota.

        193. As further alleged herein, Toyota, by way of its employees, agents,

  and/or representatives, represented to Plaintiff and the Class Members that Lexus

  GX 460 SUVs had significant tow capabilities.

        194. Such representations were material.

        195. However, Toyota should have known that such representations were

  false, as the Lexus GX 460 SUVs were incapable of towing due to the unavailability

  of the Tow Hitch Receiver.

        196. Toyota, by way of its employees, agents, and/or representatives, made

  such representations intending and/or expecting Plaintiff and the Class Members to

  rely on them.

        197. Indeed, Plaintiff and the Class Members did rely on such

  representations when leasing and/or purchasing their respective Lexus GX 460

  SUVs, to their detriment.

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        198. At the time of their applicable purchase and/or lease, Plaintiff and the

  Class Members did not know that such representations were false.

        199. As a direct and proximate result of Toyota’s material and false

  statements and representations, Plaintiff and the Class have sustained injury and

  damage, as further alleged herein.

                                        COUNT VIII
                               Negligent Misrepresentation
                                      (against LMNO)
                  (on behalf of Plaintiff and all members of the Subclass)

        200. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        201. At all times material hereto, the employees, agents, and/or

  representatives of LMNO were acting in the scope of their agency and/or

  employment under LMNO and for the benefit of LMNO.

        202. As further alleged herein, LMNO, by way of its employees, agents,

  and/or representatives, represented to Plaintiff and the members of the Subclass that

  Lexus GX 460 SUVSs had significant tow capabilities.

        203. Such representations were material.

        204. However, LMNO should have known that such representations were

  false, as the Lexus GX 460 SUVs were incapable of towing due to the unavailability

  of the Tow Hitch Receiver.




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        205. LMNO, by way of its employees, agents, and/or representatives, made

  such representations intending and/or expecting Plaintiff and the members of the

  Subclass to rely on them.

        206. Indeed, Plaintiff and the members of the Subclass did rely on such

  representations when leasing and/or purchasing their respective Lexus GX 460

  SUVs, to their detriment.

        207. At the time of their applicable purchase and/or lease, Plaintiff and the

  members of the Subclass did not know that such representations were false.

        208. As a direct and proximate result of LMNO’s material and false

  statements and representations, Plaintiff and the members of the Subclass have

  sustained injury and damage, as further alleged herein.

                                      COUNT IX
          Violation of Misleading Advertising Statute (§ 817.41, Fla. Stat.)
                                    (against Toyota)
                     (on behalf of Plaintiff and all Class Members)

        209. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        210. At all times relevant, Toyota was engaged in advertising and promoting

  the line of Lexus GX 460 SUVs as having a significant tow capabilities, and thus,

  being capable of towing.

        211. At the same time, Toyota knew or should have known that the Lexus

  GX 460 line of SUVs are incapable of towing due to the unavailability of the Tow

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  Hitch Receiver and have likely known of this fact since at least October 18, 2021, if

  not earlier.

         212. In response to and in reliance on these advertisements, Plaintiff and the

  Class Members purchased and/or leased a Lexus GX 460 SUV.

         213. Only after Plaintiff and the Class Members purchased and/or leased a

  Lexus GX 460 SUV did Toyota make known to Plaintiff and the Class Members, by

  way of its representatives, that the Lexus GX 460 SUVs purchased or leased by

  Plaintiff and the Class Members are incapable of towing due to the unavailability of

  the Tow Hitch Receiver.

         214. Toyota knew that the fact that Lexus GX 460 SUVs are incapable of

  towing due to the unavailability of the Tow Hitch Receiver would prevent potential

  consumers from purchasing or leasing Lexus GX 460 SUVs.

         215. Accordingly, Toyota intentionally and purposely withheld this

  information from potential customers (including Plaintiff and the Class Members)

  until after the sale of the respective Lexus GX 460 SUVs were complete.

         216. By relying on, and as a direct and proximate result of, the misleading

  advertising, Plaintiff and the Class have sustained injury and damage, as further

  alleged herein.




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                                       COUNT X
          Violation of Misleading Advertising Statute (§ 817.41, Fla. Stat.)
                                    (against LMNO)
                (on behalf of Plaintiff and all members of the Subclass)

         217. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

         218. At all times relevant, LMNO was engaged in advertising and promoting

  the line of Lexus GX 460 SUVs as having a significant tow capabilities, and thus,

  being capable of towing.

         219. At the same time, LMNO knew or should have known that the Lexus

  GX 460 line of SUVs are incapable of towing due to the unavailability of the Tow

  Hitch Receiver and have likely known of this fact since at least October 18, 2021, if

  not earlier.

         220. In response to and in reliance on these advertisements, Plaintiff and the

  members of the Subclass purchased and/or leased a Lexus GX 460 SUVs.

         221. Only after Plaintiff and the members of the Subclass purchased and/or

  leased a Lexus GX 460 SUV did LMNO make known to Plaintiff and the members

  of the Subclass, by way of its representatives, that the Lexus GX 460 SUVs

  purchased or leased by Plaintiff and the members of the Subclass are incapable of

  towing due to the unavailability of the Tow Hitch Receiver.




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        222. LMNO knew that the fact that Lexus GX 460 SUVs are incapable of

  towing due to the unavailability of the Tow Hitch Receiver would prevent potential

  consumers from purchasing or leasing Lexus GX 460 SUVs.

        223. Accordingly, LMNO intentionally and purposely withheld this

  information from potential customers (including Plaintiff and the Class Members)

  until after the sale of the respective Lexus GX 460 SUVs were complete.

        224. By relying on, and as a direct and proximate result of, the misleading

  advertising, Plaintiff and the members of the Subclass have sustained injury and

  damage, as further alleged herein.

                                      COUNT XI
           Breach of Implied Warranty of Fitness for Particular Purpose
                                   (against LMNO)
               (on behalf of Plaintiff and all members of the Subclass)

        225. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        226. LMNO, by way of its employees, agents, and/or representatives,

  represented to Plaintiff and the members of the Subclass that the Lexus GX 460

  SUVs were suitable to be used for towing.

        227. At the time that Plaintiff and the members of the Subclass purchased

  and/or leased their respective Lexus GX 460 SUVs from LMNO, Plaintiff and the

  members of the Subclass informed LMNO that the Lexus GX 460 SUVs to be

  purchased and/or leased were intended to be used for, without limitation, towing,

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  and it was made clear that Plaintiff and the members of the Subclass were relying on

  the skill and judgment of LMNO, by way of their respective employees, agents,

  and/or representatives, in selecting a product suitable for that purpose.

        228. In purchasing their respective Lexus GX 460 SUVs from LMNO, as

  described above, Plaintiff and the members of the Subclass relied on the skill and

  judgment of LMNO, by way of their respective employees, agents, and/or

  representatives, in selecting a vehicle suitable for towing.

        229. As a result of the matters alleged above, LMNO warranted by

  implication that the Lexus GX 460 SUVs would be suitable for towing.

        230. LMNO breached the implied warranty of fitness described above in that

  the Lexus GX 460 SUVs purchased and/or leased by Plaintiff and the members of

  the Subclass are incapable of towing due to the unavailability of the Tow Hitch

  Receiver.

        231. As a direct and proximate result of LMNO’s breach of the implied

  warranty described above, Plaintiff and the members of the Subclass have sustained

  injury and damage, as further alleged herein.

                                     COUNT XII
                  Breach of Implied Warranty of Merchantability
                                   (against Toyota)
                    (on behalf of Plaintiff and all Class Members)

        232. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

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        233. The respective purchases and/or leases of the Lexus GX 460 SUVs

  purchased and/or leased by Plaintiff and the Class Members were accompanied by

  warranties, both express and implied, including Toyota’s implied warranty of

  merchantability.

        234. The implied warranty of merchantability that accompanied such

  respective purchases and/or leases of the Lexus GX 460 SUVs means that the Lexus

  GX 460 SUVs will comply with each of the following requirements: (1) they would

  pass without objection in the trade under the contract description; (2) they are fit for

  the ordinary purposes for which such goods are used; (3) they are adequately

  contained, packaged, and labeled; and (4) they conform to the promises or

  affirmations of fact made on the container or label.

        235. Because the purchased and/or leased Lexus GX 460 SUVs are

  incapable of towing due to the unavailability of the Tow Hitch Receiver, the vehicles

  (1) would not and will not pass without objection in the trade under the contract

  description, (2) were and are not fit for the ordinary purposes for which such goods

  are used, (3) were not adequately contained, packaged, and labeled, and (4) did not

  conform to the promises or affirmations of fact made on their containers or labels.

        236. Accordingly, Toyota has breached the implied warranty of

  merchantability.




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        237. As a direct and proximate result of Toyota’s breach of the implied

  warranty of merchantability, Plaintiff and the Class have sustained injury and

  damage, as further alleged herein.

                                        COUNT XIII
                    Breach of Implied Warranty of Merchantability
                                      (against LMNO)
                  (on behalf of Plaintiff and all members of the Subclass)

        238. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        239. The respective purchases and/or leases of the Lexus GX 460 SUVs

  purchased and/or leased by Plaintiff and the members of the Subclass were

  accompanied by warranties, both express and implied, including LMNO’s implied

  warranty of merchantability.

        240. The implied warranty of merchantability that accompanied such

  respective purchases and/or leases of the Lexus GX 460 SUVs means that the Lexus

  GX 460 SUVs will comply with each of the following requirements: (1) they would

  pass without objection in the trade under the contract description; (2) they are fit for

  the ordinary purposes for which such goods are used; (3) they are adequately

  contained, packaged, and labeled; and (4) they conform to the promises or

  affirmations of fact made on the container or label.

        241. Because the purchased and/or leased Lexus GX 460 SUVs are

  incapable of towing due to the unavailability of the Tow Hitch Receiver, the vehicles

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  (1) would not and will not pass without objection in the trade under the contract

  description, (2) were and are not fit for the ordinary purposes for which such goods

  are used, (3) were not adequately contained, packaged, and labeled, and (4) did not

  conform to the promises or affirmations of fact made on their containers or labels.

        242. Accordingly, LMNO has breached the implied warranty of

  merchantability.

        243. As a direct and proximate result of LMNO’s breach of the implied

  warranty of merchantability, Plaintiff and the members of the Subclass have

  sustained injury and damage, as further alleged herein.

                                     COUNT XIV
                            Breach of Express Warranty
                                    (against Toyota)
                     (on behalf of Plaintiff and all Class Members)

        244. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        245. The respective purchases and/or leases of the Lexus GX 460 SUVs

  purchased and/or leased by Plaintiff and the Class Members were accompanied by

  warranties, both expressly written and implied.

        246. Toyota was the warrantor under the terms and conditions of such

  express warranties, which are hereby incorporated herein.

        247. Under such warranties, Toyota undertook to preserve and maintain the

  utility and performance of the vehicles purchased and/or leased by Plaintiff and the

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  Class Members and/or provide compensation in the event of a failure in utility or

  performance.

        248. The Lexus GX 460 SUVs purchased and/or leased by Plaintiff and the

  Class Members have failed in utility or performance and are defective, in that they

  are incapable of towing due to the unavailability of the Tow Hitch Receiver.

        249. Plaintiff has presented the purchased Lexus SUV to Toyota’s

  authorized dealerships and repair facilities to repair the defect.

        250. Further, Toyota knows or should know that the Lexus GX 460 line of

  SUVs are incapable of towing due to the unavailability of the Tow Hitch Receiver

  and have likely known of this fact since at least October 18, 2021, if not earlier.

        251. Thus, Toyota is aware and has actual and/or constructive notice that the

  SUVs purchased and/or leased by Plaintiff and the Class Members suffer from the

  referenced defect.

        252. Nevertheless, Toyota has failed to repair the defect or offer Plaintiff or

  the Class Members any restitution for the defect.

        253. Thus, Toyota failed to conform the Lexus GX 460 SUVs purchased

  and/or leased by Plaintiff and the Class Members to the applicable express

  warranties.

        254. Accordingly, Toyota has breached the applicable express warranties.




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        255. As a direct and proximate result of Toyota’s breach of the applicable

  express warranties, Plaintiff and the Class have sustained injury and damage, as

  further alleged herein.

                                     COUNT XV
     Violation of the Magnuson-Moss Warranty Act (15 U.S.C. §2301 et seq.)
                                   (against Toyota)
                    (on behalf of Plaintiff and all Class Members)

        256. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        257. Plaintiff and each of the Class Members are each a “consumer” as

  defined by 15 U.S.C. §2301(3).

        258. Toyota is a “warrantor” as defined by 15 U.S.C. §2301(5).

        259. The Lexus GX 460 SUVs purchased and/or leased by Plaintiff and the

  Class Members were each a “consumer product” under 15 U.S.C. §2301(1), as they

  were each tangible personal property which is distributed in commerce and which is

  normally used in for personal, family, or household purposes.

        260. The respective purchases and/or leases of the Lexus GX 460 SUVs

  purchased and/or leased by Plaintiff and the Class Members were accompanied by

  warranties, both expressly written and implied.

        261. Plaintiff and each of the Class Members are entitled to enforce the terms

  such express and implied warranties.




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        262. Toyota was the warrantor under the terms and conditions of such

  express and implied warranties, the terms of which are expressly incorporated

  herein.

        263. The Lexus GX 460 SUVs purchased and/or leased by Plaintiff and the

  Class Members are defective, in that they are incapable of towing due to the

  unavailability of the Tow Hitch Receiver.

        264. Toyota has failed to remedy the defect within a reasonable time (i.e., at

  all) to conform the Lexus GX 460 vehicles purchased and/or leased by Plaintiff and

  the Class Members to all applicable implied and express warranties.

        265. In addition, when granting the applicable warranties to Plaintiff and the

  Class Members, Toyota knew (or should have known) that the warranties would be

  ineffective to cure the defect within a reasonable time due to the unavailability of

  the Tow Hitch Receiver.

        266. Thus, because Toyota had no intention of providing warranty coverage

  to cure the defect and/or knew or should have known that they were unable to

  provide warranty coverage to cure the defect, the terms and conditions of the

  applicable warranties granted by Toyota was deceptive and/or misleading.

        267. The Magnuson-Moss Warranty Act enhances state law warranty rights

  as to representations made to consumers and performance under a warranty or

  warranty implied-by law.



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        268. Thus, as a result of Toyota’s wrongful conduct as further alleged herein,

  Toyota has violated the Magnuson-Moss Warranty Act.

        269. As a direct and proximate result of Toyota’s wrongful conduct as

  alleged herein, Plaintiff and the Class have sustained injury and damage, as further

  alleged herein, and are entitled to the recovery of such damages and their attorneys’

  fees, costs, and expenses, in accordance with, without limitation, 15 U.S.C.

  §2310(d)(1).

                                     COUNT XVI
     Violation of the Magnuson-Moss Warranty Act (15 U.S.C. §2301 et seq.)
                                   (against LMNO)
               (on behalf of Plaintiff and all members of the Subclass)

        270. Plaintiff repeats and realleges the foregoing allegations as if fully set

  forth herein.

        271. Plaintiff and each of the members of the Subclass are each a

  “consumer” as defined by 15 U.S.C. §2301(3).

        272. LMNO is a “warrantor” as defined by 15 U.S.C. §2301(5).

        273. The Lexus GX 460 SUVs purchased and/or leased by Plaintiff and the

  members of the Subclass were each a “consumer product” under 15 U.S.C. §2301(1),

  as they were each tangible personal property which is distributed in commerce and

  which is normally used in for personal, family, or household purposes.




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        274. The respective purchases and/or leases of the Lexus GX 460 SUVs

  purchased and/or leased by Plaintiff and the members of the Subclass were

  accompanied by warranties, both expressly written and implied.

        275. Plaintiff and each of the members of the Subclass are entitled to enforce

  the terms such express and implied warranties.

        276. LMNO was the warrantor under the terms and conditions of such

  implied warranties, including, without limitation, the implied warranty of

  merchantability and the implied warranty of fitness for particular purpose.

        277. The Lexus GX 460 SUVs purchased and/or leased by Plaintiff and the

  members of the Subclass are defective, in that they are incapable of towing due to

  the unavailability of the Tow Hitch Receiver.

        278. LMNO has failed to remedy the defect within a reasonable time (i.e., at

  all) to conform the Lexus GX 460 SUVs purchased and/or leased by Plaintiff and

  the members of the Subclass to all applicable implied warranties.

        279. In addition, when granting the applicable warranties to Plaintiff and the

  members of the Subclass, LMNO knew (or should have known) that the warranties

  would be ineffective to cure the defect within a reasonable time due to the

  unavailability of the Tow Hitch Receiver.

        280. Thus, because LMNO had no intention of providing warranty coverage

  to cure the defect and/or knew or should have known that they were unable to



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  provide warranty coverage to cure the defect, the terms and conditions of the

  applicable warranties granted by LMNO was deceptive and/or misleading.

        281. The Magnuson-Moss Warranty Act enhances state law warranty rights

  as to representations made to consumers and performance under a warranty or

  warranty implied-by law.

        282. Thus, as a result of LMNO’s wrongful conduct as further alleged

  herein, LMNO has violated the Magnuson-Moss Warranty Act.

        283. As a direct and proximate result of LMNO’s wrongful conduct as

  alleged herein, Plaintiff and the members of the Subclass have sustained injury and

  damage, as further alleged herein, and are entitled to the recovery of such damages

  and their attorneys’ fees, costs, and expenses, in accordance with, without limitation,

  15 U.S.C. §2310(d)(1).

                                PRAYER FOR RELIEF

  WHEREFORE, Plaintiff, individually and on behalf of the Class (including, without

  limitation, the members of the Subclass), respectfully demands the following relief:

        A.     Certification of the Class and Subclass pursuant Federal Rule 23;

        B.     Appointment of Plaintiff as the representative for the Class and the

        Subclass and Plaintiff’s attorneys as Class Counsel for both the Class and

        Subclass;




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         C.     Awarding Plaintiff, the Class, and the Subclass compensatory damages,

         in an amount to be proved at trial;

         D.     Awarding Plaintiff, the Class, and the Subclass punitive damages, in an

         amount to be proved at trial;

         E.     Awarding Plaintiff, the Class, and the Subclass injunctive relief as

         permitted by law or equity, including, but not limited to, enjoining Defendants

         from continuing the unlawful practices as set forth herein, ordering

         Defendants to engage in a corrective advertising campaign, and ordering

         Defendants to take other corrective action as determined necessary;

         F.     Awarding pre-judgment and post-judgment interest;

         G.     Awarding attorneys’ fees and costs; and

         H.     Providing such further relief as may be just and proper.

                                       JURY DEMAND

  Plaintiff demands a trial by jury.

  Dated: January 6, 2023

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